813 F.2d 403Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Geoffrey Lind HORN, Defendant-Appellant.
    No. 86-7267.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 31, 1986.Decided Dec. 3, 1986.
    
      Before WIDENER and ERVIN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      Geoffrey Lind Horn, appellant pro se.  Gary Patrick Jordan, Office of the United States Attorney, for appellee.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order refusing relief under 28 U.S.C. Sec. 2255 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  United States v. Horn, C/A No. 86-897-HAR;  Cr. No. 85-2-HAR (D.Md., July 2, 1986).
    
    
      2
      AFFIRMED.
    
    